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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )      Criminal Case No. 22-cr-00007-LKG
 v.                                             )
                                                )      Dated: January 17, 2023
 MARILYN J. MOSBY,                              )
                                                )
        Defendant.                              )
                                                )

                       MEMORANDUM OPINION AND ORDER
                     ON THE GOVERNMENT’S MOTION FOR AN
                  ORDER PURSUANT TO LOCAL RULES 204 AND 603
                  AND DEFENDANT’S MOTION TO TRANSFER VENUE

I.     INTRODUCTION

       This memorandum opinion and order resolves two pre-trial motions currently pending
before the Court. First, the Government seeks an order pursuant to Local Rules 204 and 603
“prohibiting counsel, parties, and witnesses from making statements that pose a substantial
likelihood of material prejudice in this case, or making any statement to the media or public that
are intended to influence any juror or potential juror in this matter,” when entering, exiting, or
within the vicinity of the courthouse. ECF No. 120. Second, Defendant has moved for an intra-
district transfer of the venue for the trial, scheduled to commence in this criminal matter on
March 27, 2022, to the Court’s Southern Division in Greenbelt, Maryland, pursuant to Fed. R.
Crim. P. 18. ECF No.129.
       These motions have been fully briefed by the parties. ECF Nos. 120, 123, 125, 127,129,
142 and 148. The Court held a hearing on these matters on January 17, 2023. For the reasons
that follow, and those stated during the hearing, the Court: (1) GRANTS-in-PART the
Government’s motion pursuant to Local Rules 204 and 603 and (2) DENIES Defendant’s
motion to transfer venue WITHOUT PREJUDICE.
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II.       FACTUAL BACKGROUD AND PROCEDURAL HISTORY

      A. Factual Background

                                       Background Of The Case
          On January 13, 2022, a federal Grand Jury sitting in Baltimore, MD returned a four-count
Indictment against Defendant, Marilyn J. Mosby. See Indictment, ECF No. 1. A federal Grand
Jury returned a Superseding Indictment on March 10, 2022. See Superseding Indictment, ECF
No. 25.
          Defendant has pled not guilty as to all counts in the Superseding Indictment. See
Arraignment, ECF No. 12. Trial is scheduled to begin on March 27, 2023, in Baltimore, MD.

                  The Government’s Motion Pursuant To Local Rules 204 And 603

          On September 14, 2022, the Court held a pre-trial hearing in this matter. During the
hearing, the Court, among other things, granted the Government’s motion for a continuance of
the trial. ECF No. 134.

          Following the hearing, Defense Counsel Bolden 1 gave a press conference on the steps of
the Garmatz Federal Courthouse. See Lee O. Sanderlin and Alex Mann, Judge Postpones
Marilyn Mosby’s Federal Trial; New Date Yet To Be Set, The Baltimore Sun, Sept. 14, 2022,
available at https://www.baltimoresun.com/news/crime/bs-md-ci-cr-marilyn-mosby-lawyers-
opposepostponement-20220914-vrrnt7eegnfitlxb2bhvrjin6i-story.html. During the press
conference, Defense Counsel Bolden stated that: “Now on the eve of trial, [the government]
report[s] to the court on the record that they’re gonna use experts . . . it was all [bull****].” Id.
Defense Counsel Bolden also stated that: “If you’re in the federal government, you’re in the state
government, you’re an African-American politician working for the government, you are at risk
because of the U.S. Attorney’s Office for the City of Baltimore [sic].” Id.
          The following day, the Court held another pre-trial hearing. During this hearing,

Defense Counsel Bolden made the following statement to the Court:


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 Defendant is currently represented in this matter by the following six attorneys: A. Scott Bolden, Esq.;
Anthony R. Todd, Esq.; Gary Edward Proctor, Esq.; Kelley C. Miller, Esq.; Lucius Outlaw, Esq.; and
Rizwan Quereshi, Esq. See ECF Nos. 6, 7, 8, 9 and 10. The Court granted Defense Counsel Bolden’s
motion to appear pro hac vice in this matter on January 24, 2021 (ECF No. 10).



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        To the Court, to the institution, federal and state courts, to judges, it’s been
        reported that in a public statement I issued profanity or used profanity
        about the Order or the Government’s decision to seek a continuance. That
        was inappropriate. I own it. I apologize to the Court, the institution, the
        judges that make up this great body, both federal and state. As you know,
        my father who passed away was a former city state judge. I’ve been a
        member of the bar-- three bars over 35 years and been around the law for
        50 years as a young man watching my father try cases. I know better. I
        was very frustrated, and I apologize again. It will never happen again. And
        I’m disappointed in my choice of words for sure. If my mother was with
        us, she’d be hitting me upside the head as she should. So I apologize, Your
        Honor. Thank you.

See Sept. 15, 2022, Hearing Tr. at 71; ECF No. 135.

        The Government has moved pursuant to Local Rules 204 and 603 for an order
“prohibiting counsel, parties, and witnesses from making statements that pose a substantial
likelihood of material prejudice in this case, or making any statement to the media or public that
are intended to influence any juror or potential juror in this matter,” when entering, exiting, or
within the vicinity of the courthouse. ECF No. 120. In this regard, the Government argues that
Defense Counsel Bolden’s September 14, 2022, press remarks pose the risk of prejudicing
potential jurors in this case against the United States Attorney’s Office,” because a significant
number of potential jurors in this case will be federal and state employees. Id. The Government
also argues that Defense Counsel Bolden’s “continued insistence that this prosecution was
motivated by racial animus. . . poses the risk of prejudicing potential jurors against the United
States in this matter.” Id.

                              The Defendant’s Motion To Transfer Venue

        The Defendant has moved to transfer the trial in this criminal matter to the Court’s
Southern Division located in Greenbelt, Maryland, pursuant to Fed. R. Crim. P. 18. ECF
No.129. Defendant argues that a transfer of venue is warranted, because: (1) the pre-trial
publicity in this case is inherently prejudicial to her, so that the Court should presume prejudice;
(2) an intra-district transfer of venue will serve the convenience of the Defendant, the witnesses
and counsel; and (3) a transfer of venue will serve the interest of justice, by requiring a smaller
jury pool and a shorter voir dire process. Id.




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          B.     Procedural History

          On September 15, 2022, the Government filed a motion for an order pursuant to Local
Rules 204 and 603, by leave of the Court. ECF No. 120. On September 29, 2022, Defendant
filed a response in opposition to the Government’s motion. ECF No. 123.
          On October 3, 2020, Defendant filed a corrected response in opposition to the
Government’s motion. ECF No. 125. On October 10, 2022, the Government filed a reply in
support of its motion. ECF No. 127.

          On October 20, 2022, the Defendant filed a motion to transfer venue, pursuant to Fed. R.
Crim. P. 18, by leave of the Court. ECF No. 129. On November 4, 2022, the Government filed
a response in opposition to the Defendant’s motion. ECF No. 142. On November 9, 2022, the
Defendant filed a reply in support of her motion. ECF No. 148.

          These matters having been fully briefed, the Court resolves the pending motions.

III.      STANDARDS FOR DECISION

       A. Limitations On The Statements Of Counsel And Parties

          The United States Court of Appeals for the Fourth Circuit has recognized that so-called
“gag orders” are prior restraints under the First Amendment. See generally In re Murphy-Brown,
LLC, 907 F.3d 788, 796-97 (4th Cir. 2018). And so, “gag orders warrant a most rigorous form of
review because they rest at the intersection of two disfavored forms of expressive limitations:
prior restraints and content-based restrictions.” Id.
          Because gag orders are content-based, they are presumptively unconstitutional and must
survive strict scrutiny. Id. at 797. Given this, gag orders must serve a compelling public interest
and be narrowly-tailored to serve their intended purposes. Id. at 797-800.
          The Supreme Court has recognized, however, that courts may limit the extra-judicial
statements of lawyers participating in litigation, to protect the integrity of court proceedings.
Notably, in Gentile v. State Bar of Nevada, the Supreme Court considered a Nevada Supreme
Court rule prohibiting a lawyer from making extra-judicial statements to the press that the lawyer
knows, or reasonably should have known, to have a “substantial likelihood of materially
prejudicing” adjudicative proceedings. Gentile v. State Bar of Nevada, 501 US 1030 (1991). In
this regard, the Supreme Court recognized that:



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                The role of attorneys in the criminal justice system subjects
                them to fiduciary obligations to the court and to the parties. An
                attorney’s position may result in some added ability to obstruct
                the proceedings through well-timed statements to the press,
                though one can debate the extent of an attorney’s ability to do
                so without violating other established duties.

Id. at 1057. And so, the Supreme Court has held that “the speech of those participating before
the courts” can be “limited” under certain circumstances. Id. at 1072.
    B. Transfer Of Venue

        Federal Rule of Criminal Procedure 18 addresses the appropriate venue for conducting a
criminal trial. This rule provides that “[t]he court must set the place of trial within the district
with due regard for the convenience of the defendant, any victim, and the witnesses, and the
prompt administration of justice.” Fed. R. Crim. P. 18. When considering the venue for trial, the
Court may also consider other factors, including docket management, courthouse space and
security, and pre-trial publicity. See United States v. Mathis, No. 3:14CR00016, 2015 WL
5012159, at *3 (W.D. Va. Aug. 21, 2015), aff’d,932 F.3d 242 (4th Cir. 2019)(citing United
States v. Lipscomb, 299 F.3d 303, 342 (5th Cir. 2002).
        Federal Rule of Criminal Procedure 21 addresses transfer of venue for either prejudice or
convenience. Fed. R. Crim. P. 21. This rule provides, in relevant part, that:
           (a) For Prejudice. Upon the defendant’s motion, the court must transfer the
           proceeding against that defendant to another district if the court is satisfied
           that so great a prejudice against the defendant exists in the transferring
           district that the defendant cannot obtain a fair and impartial trial there.

           (b) For Convenience. Upon the defendant’s motion, the court may transfer
           the proceeding, or one or more counts, against that defendant to another
           district for the convenience of the parties, any victim, and the witnesses, and
           in the interest of justice.

Fed.R.Crim.P. 21(a) and (b). When considering an intra-district transfer of venue courts have
applied the same standards that are applicable to inter-district transfers under Fed. R. Crim. P.
21. See United States v. Lentz, 352 F. Supp. 2d 718, 721 n.5 (E.D. Va. 2005). Given this, a
district court “must transfer the proceedings” against a defendant “if the court is satisfied that so
great a prejudice against the defendant exists in the transferring district that the defendant cannot
obtain a fair and impartial trial there.” Fed. R. Crim. P. 21(a). To determine whether transfer of


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venue due to pre-trial publicity is appropriate, the Court undertakes a two-step process. Higgs,
353 F.3d 281, 307 (4th Cir. 2003); United States v. Bakker, 925 F.2d 728, 732 (4th Cir. 1991).
First, the Court determines “whether the publicity is so inherently prejudicial that trial
proceedings must be presumed to be tainted,” thus resulting in a venue change prior to jury
selection. Id. (quoting Bakker, 925 F.2d at 732). Second, the Court will usually take the
additional step of conducting voir dire of prospective jurors to determine if actual prejudice
exists. Higgs, 353 F.3d at 308; Bakker, 925 F.2d at 732; Wansley, 487 F.2d at 92-93. And so,
the Defendant bears the burden of establishing prejudice to warrant a transfer of venue. 2 United
States v. Salad, 915 F. Supp. 2d 755, 757 (E.D. Va. 2012) (citing Wansley v. Slayton, 487 F.2d
90, 94 (4th Cir. 1973)).
    C. Local Rules 204 And 603

         Local Rule 204 addresses the release of information by attorneys. This rule provides, in
relevant part, that “[a]n attorney shall not directly or indirectly release or authorize the public
release of any information or opinion concerning any imminent or pending criminal litigation if
there is a reasonable likelihood that the release of the information or opinion will interfere with a
fair trial or otherwise prejudice the due administration of justice.” L.R. 204.1. Local Rule 204
also requires that, during a jury trial, including the period of selection of the jury, “no lawyer
associated with the prosecution or defense shall give or authorize any extra-judicial statement or
interview, relating to the trial or the parties or issues in the trial, for dissemination by any means
of public communication, except that the lawyer may quote from or refer without comment to
public court records in the case.” L.R. 204.4. “Any violation of Local Rule 204 may be treated
as a contempt of court and may subject the violator to the disciplinary action of the Court.” L.R.
204.6.

         Lastly, Local Rule 603 addresses special orders in widely publicized or sensational cases
and provides that:
              In a widely publicized or sensational criminal or civil case, the Court, on
              motion of either party or on its own motion, in the exercise of its general

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  The Supreme Court has articulated certain factors to consider when weighing prejudice, including the
size and diversity of the jury pool; the style and tone of pretrial publicity; and the length of time between
the offense and the trial. Skilling v. United States, 561 U.S. 358, 381-83 (2010).




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              powers, may issue a special order governing such matters as extrajudicial
              statements by parties and witnesses likely to interfere with the rights of the
              accused to a fair trial by an impartial jury, the seating and conduct in the
              courtroom of spectators and news media representatives, the management
              and sequestration of jurors and witnesses, and any other matters which the
              Court may deem appropriate for inclusion in such an order.

L.R. 603.
IV.     ANALYSIS

        A. A Narrowly-Tailored Limit On The Statements
           Of Counsel Is Warranted To Ensure A Fair Trial

        The Court first addresses the Government’s motion for an order pursuant to Local Rules
204 and 603. In its opening brief, the Government proposes an order “prohibiting counsel,
parties, and witnesses from making statements that pose a substantial likelihood of material
prejudice in this case, or making any statement to the media or public that are intended to
influence any juror or potential juror in this matter,” when entering, exiting, or within the vicinity
of the courthouse. ECF No. 120. But the Court reads the Government’s reply brief to modify
this proposal to seek an order prohibiting counsel in this case from “making prejudicial
statements to the media on the courthouse steps,” consistent with Local Rule 204. ECF No 127
at 3 and 7. The Government clarified during argument and argument that it seeks an order only
limiting the statements of counsel. For the reasons that follow, the Court agrees that a narrowly-
tailored order regarding the extra-judicial statements of counsel is warranted as this case
proceeds to trial.

        The Court initially observes that it does not lightly consider imposing a limit on the
statements of counsel or the parties in this case. The Fourth Circuit has cautioned that gag orders
“should be a last resort, not a first impulse,” because such orders constitute prior restraints under
the First Amendment. Id. at 800. Given this, a gag order limiting the statements of counsel and
the parties should issue in this case only if it is likely that the Court would be unable to guide a
jury to an impartial verdict, due to the extra-judicial statements of counsel or the parties. In re
Murphy Brown at 798.
        This Court may, nonetheless, limit the speech of the lawyers participating in this matter,
to ensure the integrity and fairness of the trial. As the Supreme Court recognized in Gentile,
“[t]he role of attorneys in the criminal justice system subjects them to fiduciary obligations to the


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court and to the parties.” Gentile v. State Bar of Nevada, 501 US 1030, 1057 (1991). For this
reason, the Court’s Local Rule 204 places a limitation of the extra-judicial statements of counsel
in criminal matters, by requiring that “[a]n attorney shall not directly or indirectly release or
authorize the public release of any information or opinion concerning any imminent or pending
criminal litigation if there is a reasonable likelihood that the release of the information or opinion
will interfere with a fair trial or otherwise prejudice the due administration of justice.” L.R.
204.1.
           The Court agrees with the Government that imposing such a limitation on the speech of
counsel, as this case proceeds to trial, is warranted. As both parties acknowledge, there is
considerable press coverage and public attention to this case. This litigation is also entering the
jury selection stage, which will begin in just a few days with the issuance of the Court’s
questionnaire to potential jurors.
           Defense Counsel Bolden has also previously made extra-judicial statements to the news
media about this case that the Court finds to be inconsistent with Local Rule 204. Notably, on
September 14, 2022, Defense Counsel Bolden gave a press conference on the steps of the
Garmatz Federal Courthouse and stated, among other things, that: “Now on the eve of trial, [the
government] report[s] to the court on the record that they’re gonna use experts . . . it was all
[bull****].” Id. Defense Counsel Bolden also stated during this press conference that: “ If
you’re in the federal government, you’re in the state government, you're an African-American
politician working for the government, you are at risk because of the U.S. Attorney’s Office for
the City of Baltimore [sic].” Id. The Court agrees with the Government that Defense Counsel
Bolden’s statements could bias the pool of potential jurors for this case against the Government,
because of the significant number of federal and state government employees residing within the
District of Maryland. Defense Counsel Bolden’s use of profanity, while standing on the
courthouse steps, is also offensive to the Court and highly prejudicial to the due administration of
justice.
           For these reasons, the Court will require that all counsel refrain from making any
statements to the news media, and from publicly releasing any information or opinion concerning
this criminal litigation, that would have a reasonable likelihood of interfering with a fair trial or
otherwise prejudice the due administration of justice, during the pendency of this case. L.R. 204.




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        B. Defendant Has Not Shown That A Transfer Of Venue Is Warranted
        The Court next addresses Defendant’s motion to transfer venue to Greenbelt, Maryland.
For the reasons that follow, the Court will DENY the Defendant’s motion WITHOUT
PREJUDICE.

        Defendant argues that a transfer of venue is warranted under Fed. R. Crim. P. 18,
because: (1) the pre-trial publicity in this case is inherently prejudicial to her; (2) an intra-district
transfer of venue will serve the convenience of the Defendant, the witnesses and counsel; and (3)
a transfer of venue will serve the interest of justice, by requiring a smaller jury pool and a shorter
voir dire process. Id. The Government counters that a transfer of venue is not warranted,
because Defendant neither shows that she cannot obtain a fair and impartial trial in the Court’s
Northern Division, nor that the voir dire process established by the Court will not ensure a fair
and impartial jury in this case.
        The Court agrees with the Government that the Defendant has not met her burden to
show that a transfer of venue is warranted. Fed. R. Crim. P. 18 provides that “[t]he court must
set the place of trial within the district with due regard for the convenience of the defendant, any
victim, and the witnesses, and the prompt administration of justice.” Fed. R. Crim. P. 18. When
considering the venue for trial, the Court may also consider other factors, including pre-trial
publicity. See United States v. Mathis, No. 3:14CR00016, 2015 WL 5012159, at *3 (W.D. Va.
Aug. 21, 2015), aff’d,932 F.3d 242 (4th Cir. 2019) (citing United States v. Lipscomb, 299 F.3d
303, 342 (5th Cir. 2002). When considering the impact of pre-trial publicity on a criminal
proceeding, the Court undertakes a two-step process. Higgs, 353 F.3d at 307; United States v.
Bakker, 925 F.2d 728, 732 (4th Cir. 1991). First, the Court determines “whether the publicity is
so inherently prejudicial that trial proceedings must be presumed to be tainted,” thus resulting in
a venue change prior to jury selection. Id. (quoting Bakker, 925 F.2d at 732). Second, the Court
will usually conduct the voir dire of prospective jurors to determine if actual prejudice exists.
Higgs, 353 F.3d at 308; Bakker, 925 F.2d at 732; Wansley, 487 F.2d at 92-93.
        Defendant has not shown that a transfer of venue under Fed R Crim. P. 18 is warranted
for several reasons, First, Defendant fails to demonstrate that the pre-trial publicity about this
case is so inherently prejudicial that trial proceedings in the Court’s Northern Division must be
presumed to be tainted. United States v. Salad, 915 F. Supp.2d 755, 757 (E.D. Virginia 2012)
(citing Fed.R.Crim.P. 21(a)). Defendant argues that various news articles and campaign ads


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published in Baltimore, and in other communities served by the Court’s Northern Division,
demonstrate prejudice and animus against her in those communities. But the Defendant provides
no analysis to show how these news articles and campaign ads either demonstrate public animus
or could influence the jury pool.
       The Court also observes that many of the news articles cited by Defendant to show
animus do not pertain to this case. Rather, these news articles involve the Defendant’s former
role and duties as the State’s Attorney for Baltimore City. In this regard, it is important to note
that the charged offenses in this case do not relate to the Defendant’s former public office and
official duties. To be sure, there can be no question that Defendant is well-known in certain
communities served by the Court’s Northern Division, largely due to the fact that she recently
held public office in Baltimore. But the fact that potential jurors who reside in the Court’s
Northern Division may have heard of the Defendant, or even heard of this case through the news
media, does not establish that trial proceedings in the Northern Division must be presumed to be
tainted. Skilling, at 381 (citing Irwin v. Dowd, 366 U.S. 717, 722 (1961)). (“Prominence does
not necessarily produce prejudice, and juror impartiality, we have reiterated, does not require
ignorance.”).
       Defendant also fails to adequately explain how the news coverage about her in the
Baltimore area could influence the many other communities located within the Court’s Northern
Division from which the prospective jurors will be drawn. In addition to Baltimore City and
Baltimore County, the Northern Division is comprised of the counties of Allegany, Anne
Arundel, Caroline, Carroll, Cecil, Dorchester, Frederick, Garrett, Harford, Howard, Kent, Queen
Anne’s, Somerset, Talbot, Washington, Wicomico and Worcester. These counties include
communities located in the farthest northwest and northeast regions of the State of Maryland, the
Eastern Shore, and the counties located in Southern Maryland. Defendant simply does not
explain how these communities could be more significantly influenced by the pre-trial publicity
about this case than the communities that serve the Court’s Southern Division.
       The Court also agrees with the Government that the voir dire process that has been
established by the Court, in consultation with the parties, will help ensure that a fair and
impartial jury is seated in this case. A comprehensive juror questionnaire has been developed for
this case to aid the parties and the Court in identifying any bias and the impact of pre-trial




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publicity on the jury selection process. This questionnaire will be sent to prospective jurors in
just a few days to begin the jury selection process for this case.
        The Court is confident that any prejudice or bias present due to pre-trial publicity can be
effectively addressed by this voir dire process. 3 Higgs, 353 F.3d at 308; Bakker, 925 F.2d at
732; Wansley, 487 F.2d at 92-93. To the extent that there is any doubt about this, it is
appropriate for the Court to conduct the voir dire of prospective jurors first, to determine if
actual prejudice exists in this case. To extent that such prejudice is found, Defendant may renew
her motion to transfer venue at that time. And so, the Court DENIES the Defendant’s motion to
transfer venue WITHOUT PREJUDICE.

V.      CONCLUSION

        For the foregoing reasons the Court:

        1. GRANTS-in-PART the Government’s motion pursuant to Local Rule 204 and 603;
            and

        2. DENIES Defendant’s motion to transfer venue WITHOUT PREJUDICE.

        It is FURTHER ORDERED that:

        (a) Pursuant to Local Rules 204 and 603, the Court will require that all counsel refrain
            from making any statements to the news media, and from publicly releasing any
            information or opinion concerning this criminal litigation, that would have a
            reasonable likelihood of interfering with a fair trial or otherwise prejudice the due
            administration of justice during the pendency of this case. L.R. 204.

        (b) All counsel shall refrain from making any extra-judicial statements regarding
            whether the prosecution of this case has been motivated by political or racial
            animus.

        (c) All counsel shall refrain from disclosing responses to the Court’s questionnaire to


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 Defendant similarly fails to show that a transfer of venue for convenience is warranted, because she
does not argue that a transfer of venue to Greenbelt, MD would be more convenient for her, or for any
witness in this case.




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   potential jurors.

(d) All counsel shall refrain from making any extra-judicial statements about the merits
   of this case, or expressing an opinion about the merits of this case.

(e) This Order shall apply to any statements by counsel, regardless of whether such
   statements are made within the vicinity of the courthouse, consistent with Local
   Rule 204.

Any violation of this order may result in a finding of contempt of Court.

IT IS SO ORDERED.


                                          s/Lydia Kay Griggsby
                                          LYDIA KAY GRIGGSBY
                                          United States District Judge




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